       Case:4:18-cv-05984-YGR
       Case  20-16793, 08/23/2021, ID: 12209263,
                                Document         DktEntry:
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                                                                      FILED
                     UNITED STATES COURT OF APPEALS                   AUG 23 2021

                                                                   MOLLY C. DWYER, CLERK
                             FOR THE NINTH CIRCUIT                  U.S. COURT OF APPEALS




CALIFORNIA AIR RESOURCES                         No.   20-16793
BOARD; et al.,
                                                 D.C. Nos.   4:18-cv-05712-YGR
              Plaintiffs-Appellees,                          4:18-cv-05984-YGR
                                                 Northern District of California,
v.                                               Oakland

DAVID BERNHARDT, in his official
capacity as Secretary of the Interior; et al.,   ORDER

              Defendants-Appellants,

and

STATE OF WYOMING; et al.,

              Intervenor-Defendants.



CALIFORNIA AIR RESOURCES                         No.   20-16794
BOARD; et al.,
                                                 D.C. Nos.   4:18-cv-05712-YGR
              Plaintiffs-Appellees,                          4:18-cv-05984-YGR
                                                 Northern District of California,
v.                                               Oakland

DAVID BERNHARDT, in his official
capacity as Secretary of the Interior; et al.,

              Defendants,

AMERICAN PETROLEUM INSTITUTE;
et al.,
       Case:4:18-cv-05984-YGR
       Case  20-16793, 08/23/2021, ID: 12209263,
                                Document         DktEntry:
                                           56 Filed        19, Page
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              Intervenor-Defendants,

and

STATE OF WYOMING,

              Intervenor-Defendant-
              Appellant.

CALIFORNIA AIR RESOURCES                         No.   20-16801
BOARD; et al.,
                                                 D.C. Nos.   4:18-cv-05712-YGR
              Plaintiffs-Appellees,                          4:18-cv-05984-YGR
                                                 Northern District of California,
v.                                               Oakland

DAVID BERNHARDT, in his official
capacity as Secretary of the Interior; et al.,

              Defendants,

STATE OF WYOMING,

              Intervenor-Defendant,

and

AMERICAN PETROLEUM INSTITUTE;
et al.,

              Intervenor-Defendants-
              Appellants.




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           Case:4:18-cv-05984-YGR
           Case  20-16793, 08/23/2021, ID: 12209263,
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                                               56 Filed        19, Page
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                                                                           of 33




         The Clerk is directed to temporarily close Appeal Nos. 20-16793, 20-16794

and 20-16801 for administrative purposes until December 31, 2021. This

administrative closure is not a decision on the merits and no mandate will issue in

connection with this order.

         At any time before December 31, 2021, any party may request that these

appeals be reopened.

         A dial-in telephone conference will be held on September 29, 2021, at 10:00

a.m. Pacific Time.

         Each participant will receive an email with dial-in information.

         The briefing schedules previously set by the court are vacated.


                                                 FOR THE COURT


                                                 By: Stephen M. Liacouras
                                                 Chief Circuit Mediator


sl/mediation




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